                                                                               Case 3:07-cv-05944-JST Document 3515 Filed 02/09/15 Page 1 of 2




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                                                                          5                      IN THE UNITED STATES DISTRICT COURT
                                                                          6                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           ) MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      ) Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      ) SCHEDULING ORDER
                                                                         10   This Order Relates To:                  )
                               For the Northern District of California
United States District Court




                                                                                                                      )
                                                                         11                                           )
                                                                              ALL ACTIONS                             )
                                                                         12                                           )
                                                                                                                      )
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                                                                         16                                           )
                                                                         17
                                                                         18        A trial is currently set in these matters beginning on Monday,
                                                                         19   March 9, 2015.     Based on the Court's review of the pending
                                                                         20   motions, that date is no longer feasible.        Accordingly, the trial
                                                                         21   date, pre-trial conference, and all outstanding pre-trial deadlines
                                                                         22   are hereby VACATED.    The deadlines for motions in limine and
                                                                         23   Daubert motions set forth in the scheduling stipulation, ECF No.
                                                                         24   2459, shall remain in effect.
                                                                         25        The Court ORDERS as follows:
                                                                         26           The parties shall appear for a status conference and trial
                                                                         27            setting at 10:00 AM in Courtroom 1, 17th Floor, San
                                                                         28            Francisco Courthouse on Friday, August 7, 2015.           Prior to
                                                                              Case 3:07-cv-05944-JST Document 3515 Filed 02/09/15 Page 2 of 2




                                                                          1          the conference the parties shall meet and confer and file
                                                                          2          no less than one week prior to the conference a joint case
                                                                          3          management statement outlining the present status of these
                                                                          4          actions, proposing mutually agreeable trial dates and pre-
                                                                          5          trial deadlines, and listing the actions requiring remand
                                                                          6          to their original districts under Lexecon Inc. v. Milberg
                                                                          7          Weiss Bershad Hynes & Lerach, 523 U.S. 26 (1998), including
                                                                          8          the case number, judicial district, and (if applicable)
                                                                          9          division to which the action must be transferred for trial.
                                                                         10         At his convenience, the Special Master shall produce a
                               For the Northern District of California
United States District Court




                                                                         11          report and any recommendations necessary regarding the
                                                                         12          status and/or scheduling of any pending or forthcoming
                                                                         13          class action settlements requiring the Court's approval.
                                                                         14         The motion to modify the schedule for pre-trial exchanges,
                                                                         15          ECF No. 3150, is DENIED as moot.       Given the likelihood that
                                                                         16          circumstances will materially change prior to trial, the
                                                                         17          motion for separate trials, ECF No. 2897, is DENIED with
                                                                         18          leave to refile once the status of the actions to be tried
                                                                         19          is clearer.
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                                                                         21      IT IS SO ORDERED.
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                                                                         23      Dated: February 9, 2015
                                                                                                                  UNITED STATES DISTRICT JUDGE
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